Revised 01/07



                                                                      United States Bankruptcy Court
                                                                               Eastern District of Michigan
 In re             Arnold C. Heath, Jr.,                                                                                              Case No.
                   Angela Sue Heath
                                                                                                                               ,
                                                                                                           Debtors                    Chapter                    7

                                                          BANKRUPTCY PETITION COVER SHEET
          (The debtor must complete and file this form with the petition in every bankruptcy case. Instead of filling in the boxes on the
          petition requiring information on prior and pending cases, the debtor may refer to this form.)
                                                                                                       Part 1
          "Companion cases," as defined in L.B.R. 1071-1(c), are cases involving any of the following: (1) The same debtor; (2) A
          corporation and any majority shareholder thereof; (3) Affiliated corporations; (4) A partnership and any of its general
          partners; (5) An individual and his or her general partner; (6) An individual and his or her spouse; or (7) Individuals or
          entities with any substantial identity of financial interest or assets.
          Has a "companion case" to this case ever been filed at any time in this district or any other district? Yes X No
          (If yes, complete Part 2.)
                                                                      Part 2
          For each companion case, state in chronological order of cases: (Attach supplemental sheets if necessary.)
                                                        First Case                                               Second Case                        Third Case
          Name on petition                          Arnold C. Heath, Jr., Angela
                                                    Sue Heath
          Relationship to this case                 Married
          Case number                               001
          Chapter                                   7
          Date filed
          District                  Eastern District of Michigan
          Division
          Judge
          Status/Disposition
          (Pending, confirmed & still open, confirmed & closed, dismissed before/after confirmation, discharged, etc.)

          If the present case is a Chapter 13 case, state for each companion case:
          Attorney
          Legal fee                  $                                $                                                                 $
          Proposed legal fee in this case $
          Changes in circumstances which lead the debtor to reasonably believe that the current plan will be successful.

                                                      Part 3 - In a Chapter 13 Case Only
          The Debtor(s) certify, re: 11 U.S.C. § 1328(f):
                [indicate which]
                        Debtor(s) received a discharge issued in a case filed under Chapter 7, 11, or 12 during the 4-years before filing this case.
                        Debtor(s) did not receive a discharge issued in a case filed under Chapter 7, 11, or 12 during the 4-years before filing this case.
                        Debtor(s) received a discharge in a Chapter 13 case filed during the 2-years before filing this case.
                        Debtor(s) did not receive a discharge in a Chapter 13 case filed during the 2-years before filing this case.

          I declare under penalty of perjury that I have read this form and that it is true and correct to the best of my information and belief.
           /s/ Arnold C. Heath, Jr.                                         /s/ Angela Sue Heath                                    /s/ John A. Carras
          Debtor                                                           Debtor                                                  Debtor's Attorney
          Arnold C. Heath, Jr.                                             Angela Sue Heath                                        John A. Carras
                                                                                                                                   Carras Law Office P.L.L.C.
          Date:         February 28, 2007
                                                                                                                                   1605 Ashman Street
                                                                                                                                   MIdland, MI 48640-5451

                                                                                                                                   (989) 631-7320




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